         Case
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND



 UNITED STATES OF AMERICA,

         Plaintiff
   v.
                                                      Case No. 18-cv-02757-CCB
 DUSTIN A. WILES and
 CHRISTINA STAMBAUGH
 f/k/a CHRISTINA MAE BEAM
 f/k/a CHRISTINA M. WILES

         Defendants


                                              ORDER

        AND NOW, this _____
                       29th day of _____________,
                                     June         2021, upon consideration of Plaintiff’s

Motion for Ratification of Public Sale which states that notice has been given to Defendants, all

lienholders of record and occupants and no objection has been made to the sale within the thirty

(30) day period, it is hereby ORDERED:

        1.      That the public sale of the real property located at 5720 Conover Road, Taneytown,

MD 21787, held on December 3, 2020, was fairly and properly made and is hereby ratified.

        2.      That the Clerk of the Court shall remit copies of the Order to all parties and their

counsel, if any.

        3.      That jurisdiction is retained for such further orders or decrees as may be necessary.




                                                      _______________________________
                                                                     /S/
                                                      The Honorable Catherine C. Blake
                                                      United States District Judge
